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Honorable Benjamin H. Settle

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF WASHINGTON

AT TACOMA
UNITED STATES OF AMERICA, )
) Case No. 3116-cV-05449-BHS
Plaintiff, )
) ORDER GRANTING
v. ) JOINT MOTION TO VACATE TRIAL
)
DORAN R. KRAUS; )
LEANNE V. LAO, f/k/a Leanne V. Kraus; )
LARELL H. BALDWIN, as Trustee of )
Trust No. K9L7K5D3-48-89999-B; )
FAIRVIEW, a private contractual company; )
AMERICAN MORTGAGE NETWORK, INC.; )
DITECH FINANCIAL, LLC; and )
PIERCE COUNTY, WASHINGTON, )
)
Defendants. )
)

 

Upon consideration of the United States’ and Leanne Lao’s Motion to Vacate Trial, it is

hereby ORDERED that:
(1) The Motion is GRANTED;
(2) The trial presently scheduled to begin on May 1, 2018, is hereby stricken from the

Court’s calendar;

(3) The pretrial conference presently scheduled for April 16, 2018, at 3 :30 p.m., is hereby

stricken from the Court’s calendar; and

[Proposed] Order Granting Joint
Motion to Vacate Tn`al l Tax Division, Western Region
(Case No. 3:16-cv-05449-BHS) P.O. Box 683
Washington, D.C. 20044
Telephone: (202) 307-6547

 

 

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(4) All associated pretrial deadlines are hereby stricken from the Court’s calendar.
IT IS SO ORDE D.
DATEDthis_ _dayof 1 :1 €k [§ . J§/Mg`

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United States District u ge

 

 

 

Presented by:

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[Proposed] Order Granting Joint
Motion to Vacate Trial 2 Tax Division, Western Region
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